Case 1:20-cv-01228-CFC Document 25-9 Filed 01/20/21 Page 1 of 3 PageID #: 1384




             EXHIBIT 9
          Case 1:20-cv-01228-CFC Document 25-9 Filed 01/20/21 Page 2 of 3 PageID #: 1385

Contact
                                   David Cushing
www.linkedin.com/in/david-         Partner at Sughrue Mion
cushing-04826610 (LinkedIn)        Chevy Chase


                                   Experience
                                   Sughrue Mion
                                   Partner




                                                             Page 1 of 1
1/20/2021   Case 1:20-cv-01228-CFC Document 25-9David
                                                   Filed   01/20/21
                                                      Cushing | LinkedIn Page 3 of 3 PageID #: 1386




                                                                         Connect    Message



      David Cushing                                                                Sughrue Mion

      Partner at Sughrue Mion
      Washington, District of Columbia, United States
      Contact info



      Activity
      Posts David created, shared, or commented on in the last 90 days are displayed
      here.


                                                      See all activity




      Experience
                   Partner
                   Sughrue Mion




https://www.linkedin.com/in/david-cushing-04826610/                                                   1/1
